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OCT -6 2021
United States Court of Appeals CLERK, U.S. cist }CourT
FIFTH CIRCUIT WESTERN DISTRI TEXAS
OFFICE OF THE CLERK BY IM] _
LYLE W. CAYCE TEL. 504-310-7700 \F CLERK
CLERK 600 S. MAESTRI PLACE,
Suite 115

NEW ORLEANS, LA 70130

October 06, 2021

Ms. Jeannette Clack

Western District of Texas, San Antonio
United States District Court

655 E. Cesar E. Chavez Boulevard

Suite G65

San Antonio, TX 78206

No. 19-50506 Taylor Lohmeyer Law Firm P.L.L v. USA
USDC No. 5:18-Cv-1161~ i?

Dear Ms. Clack,

Enclosed is a copy of the Supreme Court order denying certiorari.

Sincerely,

LYLE W. CAYCE, Clerk
Kaw CMRUA YL
By:

Stacy M. Carpenter, Deputy Clerk

 
Case: 19-50506 Document: 00516044392 Page:1 Date Filed: 10/06/2021

FILED

Supreme Court of the United States OCT -6 2021
Office of the Clerk ae ire mel
Washington, DC 20543-0001 WESTERN DISTR

Scott S-Harris— ~
Clerk of the Court

October 4, 2021 (202) 479-3011

    
    
 

COURT
TEXAS

DEP CLERK

  

Clerk

United States Court of Appeals for the Fifth Circuit
600 S. Maestri Place

New Orleans, LA 70130

Re: Taylor Lohmeyer Law Firm P.L.L.C.
v. United States
No. 20-1596

(Your No. 19-50506) 5B) 1S-~-!Ilel- ie

Dear Clerk:
The Court today entered the following order in the above-entitled case:

The petition for a writ of certiorari is denied.

Sincerely,

fll & Your

Scott S. Harris, Clerk  —

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